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                             Exhibit 33
        August 27-30, 2021 Email Chain
Between SPARTA And A.G. Risk Management, Inc.
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